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                EXHIBIT A
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 1                                            FILED
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 2                                         KING COUNTY
                                      SUPERIOR COURT CLERK
 3                                            E-FILED
                                      CASE #: 22-2-15880-8 SEA
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 5

 6                      IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                          COUNTY OF KING
 7
   REBECCA STELMAN, MARK OCHOA, IAN
 8 COLEMAN, CAITLYN HOLLERBACH, LOUIS              NO.
   WEATHERSTON, DEMETRIES WRIGHT, JONAS
 9
   NYARIS, JANNI SAMUEL, MAIRA HERNANDEZ,          CLASS ACTION COMPLAINT
10 and LINDSAY MOORE, individually and on
   behalf of all others similarly situated;
11                                                 JURY DEMAND
                           Plaintiffs,
12
            v.
13
   AMAZON.COM INC.; AMAZON LOGISTICS,
14 INC.; TEM EXPRESS LOGISTICS LLC dba TEMEX

15 LOGISTICS and TEML, a Washington limited
   liability company; TORITSE ORUBU,
16 individually and on behalf of the marital
   community composed of TORITSE ORUBU
17 and J. DOE ORUBU; BUTCHIE BOY

18 PRODUCTIONS, INC. d/b/a EXSELON, a
   Washington corporation; JEFFREY BUTCHER,
19 individually and on behalf of the marital
   community composed of JEFFREY BUTCHER
20 and KATHRYN BUTCHER; KATHRYN BUTCHER,

21 individually and on behalf of the marital
   community composed of KATHRYN BUTCHER
22 and JEFFREY BUTCHER; ASTEROIDS GROUP
   LLC dba ASTG, a Washington limited liability
23
   company; KINGSLEY ONUCHUKWU,
24 individually and on behalf of the marital
   community composed of KINGSLEY
25 ONUCHUKWU and J. DOE ONUCHUKWU;
   ANAHIT MANUKYAN, individually and on
26
   behalf of the marital community composed of
27 ANAHIT MANUKYAN and J. DOE MANUKYAN;

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     BENCHMARK TRANSPORT, LLC, a Washington
 1
     limited liability company; DAMIEN WAGNER,
 2   individually and on behalf of the marital
     community composed of DAMIEN WAGNER
 3   and J. DOE WAGNER; ALDEN RADONCIC (aka
     ALDEN RADD), individually and on behalf of
 4
     the marital community composed of ALDEN
 5   RADONCIC and J. DOE RADONCIC; THE TOTAL
     PACKAGE LOGISTICS, LLC, a Washington
 6   limited liability company; JEREMY FIXLER,
 7   individually and on behalf of the marital
     community composed of JEREMY FIXLER and
 8   HEATHER FIXLER; HEATHER FIXLER
     individually and on behalf of the marital
 9   community composed of HEATHER FIXLER
10   and JEREMY FIXLER; NANCY LUNA,
     individually and on behalf of the marital
11   community composed of NANCY LUNA and J.
     DOE LUNA; ASLAR LOGISTICS LLC, a
12
     Washington limited liability company; LAURA
13   JOHNSON, individually and on behalf of the
     marital community composed of LAURA
14   JOHNSON and JOSHUA JOHNSON; JOSHUA
     JOHNSON, individually and on behalf of the
15
     marital community composed of JOSHUA
16   JOHNSON and LAURA JOHNSON; GOPLAY
     LOGISTICS LLC, a Washington limited liability
17   company; TRACY PELLETT, individually and on
18   behalf of the marital community composed of
     TRACY PELLETT and J. DOE PELLETT;
19   AVANATOR.COM LLC, a Washington limited
     liability company; RICHARD ZECH, individually
20   and on behalf of the marital community
21   composed of RICHARD ZECH and J. DOE ZECH;
     POLE POSITION EXPRESS LOGISTICS LLC, a
22   Washington limited liability company; DENNIS
     HANNAH, individually and on behalf of the
23
     marital community composed of DENNIS
24   HANNAH and J. DOE HANNAH; TRUE
     MANAGEMENT LLC, a Washington limited
25   liability company; CHRISTOPHER LILLEY,
     individually and on behalf of the marital
26
     community composed of CHRISTOPHER
27   LILLEY and J. DOE LILLEY; B.B.W. HOLDINGS,

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     INC., a Michigan corporation; BARRY
 1
     WILLIAMS, individually and on behalf of the
 2   marital community composed of BARRY
     WILLIAMS and J. DOE WILLIAMS; PARAGON
 3   DELIVERIES INC., a Washington corporation;
     and JORDAN OFFUTT, individually and on
 4
     behalf of the marital community composed of
 5   JORDAN OFFUTT and J. DOE OFFUTT;

 6                         Defendants.
 7

 8

 9          Plaintiffs Rebecca Stelman, Mark Ochoa, Ian Coleman, Caitlyn Hollerbach, Louis
10 Weatherston, Demetries Wright, Jonas Nyaris, Janni Samuel, Maira Hernandez, and Lindsay

11 Moore bring this action on their own behalf and on behalf of all others similarly situated and

12 allege as follows:

13                                       I.      INTRODUCTION
14          1.1     Nature of Action. This is a joint employer wage and hour class action on behalf of
15 drivers who have delivered packages for Amazon.com Inc. and Amazon Logistics, Inc. (the

16 “Amazon Defendants”). Plaintiffs bring this class action against the Amazon Defendants and the

17 following Delivery Service Providers (“DSPs”) and their agents: TEM Express Logistics LLC dba

18 Temex Logistics and TEML; Toritse Orubu; Butchie Boy Productions, Inc. d/b/a Exselon; Jeffrey

19 Butcher; Kathryn Butcher; Asteroids Group LLC dba ASTG; Kingsley Onuchukwu; Anahit

20 Manukyan; Benchmark Transport, LLC; Damien Wagner; Alden Radoncic (aka Alden Radd); The

21 Total Package Logistics, LLC; Jeremy Fixler; Heather Fixler; Nancy Luna; Aslar Logistics LLC; Laura

22 Johnson; Joshua Johnson; GoPlay Logistics LLC; Tracy Pellett; Avanator.com LLC; Richard Zech;

23 Pole Position Express Logistics LLC; Dennis Hannah; True Management LLC; Christopher Lilley;

24 B.B.W. Holdings, Inc.; Barry Williams; Paragon Deliveries Inc.; and Jordan Offutt (the “DSP

25 Defendants”). Plaintiffs allege the Amazon Defendants and DSP Defendants have engaged in a

26 common course of failing to provide employees with the rest and meal breaks to which they are

27 entitled; failing to ensure employees receive the rest and meal breaks to which they are

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 1 entitled; failing to compensate employees for missed rest and meal breaks; failing to

 2 compensate employees for all hours worked; and failing to pay all overtime wages owed.

 3                                  II.     JURISDICTION AND VENUE
 4          2.1     Jurisdiction. Defendants are within the jurisdiction of this Court. The Amazon
 5 Defendants and DSP Defendants are registered to do business in Washington and do conduct

 6 business in Washington. The individuals named as Defendants act as agents on behalf of the

 7 DSP Defendants and thus also conduct business in Washington. Consequently, all Defendants

 8 have obtained the benefits of the laws of Washington as well as Washington’s commercial and

 9 labor markets. This Court also has jurisdiction over this action under the City of Seattle Wage

10 Theft Ordinance, chapter 14.20 SMC, and the City of Seattle Minimum Wage Ordinance,

11 Chapter 14.19 SMC.

12          2.2     Venue. Venue is proper in King County under RCW 4.12.020(3) because the
13 Amazon Defendants reside in King County and operate and transact business in King County,

14 and Plaintiffs performed work for Defendants in King County.

15          2.3     Governing Law. The claims asserted on behalf of Plaintiffs and members of the
16 Class and Subclasses in this complaint are brought under state and municipal law causes of

17 action and are governed by Washington law and Seattle’s municipal ordinances.

18          2.4     Lack of CAFA Jurisdiction. Federal jurisdiction is inappropriate under the Class
19 Action Fairness Act, 28 U.S.C. § 1332(d)(4)(A), because more than two‐thirds of the members of

20 the proposed plaintiff class in the aggregate are citizens of Washington; the Amazon

21 Defendants and DSP Defendants are defendants from whom significant relief is sought by

22 members of the plaintiff class; the alleged conduct of these defendants forms a significant basis

23 for the claims asserted by the proposed plaintiff class; the Amazon Defendants; the principal

24 injuries resulting from the alleged conduct were incurred in Washington; and during the three‐

25 year period preceding the filing of this action, no other class action has been filed asserting the

26 same or similar factual allegations against Defendants on behalf of the same persons.

27 Alternatively, federal jurisdiction is inappropriate under the Class Action Fairness Act, 28 U.S.C.

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 1 § 1332 (d)(4)(B), because two‐thirds or more of the members of all proposed plaintiff classes in

 2 the aggregate, and Defendants, are citizens of the state of Washington.

 3                                         III.    THE PARTIES
 4          3.1     Plaintiff Rebecca Stelman. Plaintiff Rebecca Stelman is a resident of Washington
 5 State. She was jointly employed by the Amazon Defendants and Defendants TEM Express

 6 Logistics LLC dba Temex Logistics and TEML and Toritse Orubu as a package delivery driver from

 7 approximately April 2019 to October 2019 and by the Amazon Defendants and Defendants

 8 Butchie Boy Productions, Inc. d/b/a Exselon; Jeffrey Butcher; and Kathryn Butcher as a package

 9 delivery driver from approximately December 2019 to June 2021. She was an employee of

10 these Defendants for purposes of the Washington Minimum Wage Act (“MWA”), the

11 Washington Wage Rebate Act, the Washington rest and meal break regulations, the Seattle

12 Minimum Wage Ordinance (“MWO”), and the Seattle Wage Theft Ordinance. Plaintiff Stelman

13 performed work for the above‐identified Defendants in King County, Washington, including

14 Seattle.

15          3.2     Plaintiff Mark Ochoa. Plaintiff Mark Ochoa is a resident of Washington State. He
16 was jointly employed by the Amazon Defendants and Defendants Asteroids Group LLC dba

17 ASTG; Kingsley Onuchukwu; Anahit Manukyan; Benchmark Transport, LLC; Damien Wagner; and

18 Alden Radoncic (aka Alden Radd) as a package delivery driver from approximately August 2020

19 to July 2021. He was an employee of these Defendants for purposes of the Washington MWA,

20 the Washington Wage Rebate Act, the Washington rest and meal break regulations, the Seattle

21 MWO, and the Seattle Wage Theft Ordinance. Plaintiff Ochoa performed work for the above‐

22 identified Defendants in King County, Washington, including Seattle.

23          3.3     Plaintiff Ian Coleman. Plaintiff Ian Coleman is a resident of Washington State. He
24 was jointly employed by the Amazon Defendants and Defendants The Total Package Logistics,

25 LLC; Jeremy Fixler; Heather Fixler; Nancy Luna (as manager or owner of The Total Package

26 Logistics, LLC); Aslar Logistics LLC; Laura Johnson; Joshua Johnson; and Nancy Luna (as manager

27 or owner of Aslar Logistics LLC) as a package delivery driver from approximately November

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 1 2019 to January 2021. He was an employee of these Defendants for purposes of the

 2 Washington MWA, the Washington Wage Rebate Act, and the Washington rest and meal break

 3 regulations. Plaintiff Coleman performed work for the above‐identified Defendants in King

 4 County, Washington.

 5          3.4     Plaintiff Caitlyn Hollerbach. Plaintiff Caitlyn Hollerbach is a resident of
 6 Washington State. She was jointly employed by the Amazon Defendants and Defendants

 7 GoPlay Logistics LLC; Tracy Pellett; and Nancy Luna (as manager or owner of GoPlay Logistics

 8 LLC) as a package delivery driver from approximately March 2020 to March 2021. She was an

 9 employee of these Defendants for purposes of the Washington MWA, the Washington Wage

10 Rebate Act, the Washington rest and meal break regulations, the Seattle MWO, and the Seattle

11 Wage Theft Ordinance. Plaintiff Hollerbach performed work for the above‐identified

12 Defendants in King County, Washington, including Seattle.

13          3.5     Plaintiff Louis Weatherston. Plaintiff Louis Weatherston is a resident of
14 Washington State. He was jointly employed by the Amazon Defendants and Defendants

15 Avanator.com LLC; Richard Zech; and Nancy Luna (as manager or owner of Avanator.com LLC)

16 as a package delivery driver from approximately August 2020 to February 2021. He was an

17 employee of these Defendants for purposes of the Washington MWA, the Washington Wage

18 Rebate Act, the Washington rest and meal break regulations, the Seattle MWO, and the Seattle

19 Wage Theft Ordinance. Plaintiff Weatherston performed work for the above‐identified

20 Defendants in King County, Washington, including Seattle.

21          3.6     Plaintiff Demetries Wright. Plaintiff Demetries Wright is a resident of
22 Washington State. He was jointly employed by the Amazon Defendants and Defendants Pole

23 Position Express Logistics LLC and Dennis Hannah as a package delivery driver from

24 approximately July 2019 to May 2020. He was an employee of these Defendants for purposes of

25 the Washington MWA, the Washington Wage Rebate Act, the Washington rest and meal break

26 regulations, the Seattle MWO, and the Seattle Wage Theft Ordinance. Plaintiff Wright

27 performed work for the above‐identified Defendants in King County, Washington, including

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 1 Seattle.

 2          3.7     Plaintiff Jonas Nyaris. Plaintiff Jonas Nyaris is a resident of Washington State. He
 3 was jointly employed by the Amazon Defendants and Defendants True Management LLC;

 4 Christopher Lilley; and Nancy Luna (as manager or owner of True Management LLC) as a

 5 package delivery driver from approximately 2019 to 2021. He was an employee of these

 6 Defendants for purposes of the Washington MWA, the Washington Wage Rebate Act, and the

 7 Washington rest and meal break regulations. Plaintiff Nyaris performed work for the above‐

 8 identified Defendants in King County, Washington.

 9          3.8     Plaintiff Janni Samuel. Plaintiff Janni Samuel is a resident of Washington State.
10 She was jointly employed by the Amazon Defendants and Defendants Aslar Logistics LLC; Laura

11 Johnson; Joshua Johnson; and Nancy Luna (as manager or owner of Aslar Logistics LLC) as a

12 package delivery driver from approximately September 2020 to February 2021. She was an

13 employee of these Defendants for purposes of the Washington MWA, the Washington Wage

14 Rebate Act, and the Washington rest and meal break regulations. Plaintiff Samuel performed

15 work for the above‐identified Defendants in King County, Washington.

16          3.9     Plaintiff Maira Hernandez. Plaintiff Maira Hernandez is a resident of Washington
17 State. She was jointly employed by the Amazon Defendants and Defendants B.B.W. Holdings,

18 Inc. and Barry Williams as a package delivery driver from approximately December 2019 to

19 February 2022. She was an employee of these Defendants for purposes of the Washington

20 MWA, the Washington Wage Rebate Act, and the Washington rest and meal break regulations.

21 Plaintiff Hernandez performed work for the above‐identified Defendants in King County,

22 Washington.

23          3.10    Plaintiff Lindsay Moore. Plaintiff Lindsay Moore is a resident of Washington
24 State. She was jointly employed by the Amazon Defendants and Defendants Paragon Deliveries

25 Inc. and Jordan Offutt as a package delivery driver from approximately July 2019 to January

26 2020. She was an employee of these Defendants for purposes of the Washington MWA, the

27 Washington Wage Rebate Act, and the Washington rest and meal break regulations. Plaintiff

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 1 Moore performed work for the above‐identified Defendants in King County, Washington.

 2          3.11    Defendant Amazon.com Inc. Defendant Amazon.com Inc. (“Amazon.com”) is a
 3 citizen of Washington with its principal place of business, headquarters, and nerve center in

 4 Seattle, King County, Washington. Defendant Amazon.com has jointly employed Plaintiffs and

 5 hundreds of other employees within the geographic boundaries of the City of Seattle and in the

 6 state of Washington.

 7          3.12    Defendant Amazon Logistics, Inc. Defendant Amazon Logistics, Inc. (“Amazon
 8 Logistics”) is a citizen of Washington with its principal place of business, headquarters, and

 9 nerve center in Seattle, King County, Washington. Defendant Amazon Logistics has jointly

10 employed Plaintiffs and hundreds of other employees within the geographic boundaries of the

11 City of Seattle and in the state of Washington.

12          3.13    Defendant TEM Express Logistics LLC dba Temex Logistics and TEML. Defendant
13 TEM Express Logistics LLC dba Temex Logistics and TEML is a Washington limited liability

14 company doing business in King County, Washington. Defendant TEM Express Logistics LLC dba

15 Temex Logistics and TEML has jointly employed Plaintiff Rebecca Stelman and scores of other

16 employees within the geographic boundaries of the City of Seattle and in the state of

17 Washington.

18          3.14    Defendant Toritse Orubu. Defendant Toritse Orubu has at all relevant times been
19 a manager or owner of Defendant TEM Express Logistics LLC dba Temex Logistics and TEML and

20 has been engaged in running the company’s business, managing the company’s finances,

21 determining certain employment practices, maintaining certain employment records, and

22 exercising certain control over how the company’s employees are paid and their working

23 conditions. Defendant Orubu is a citizen of Washington. Defendant Orubu has jointly employed

24 scores of delivery drivers within the geographic boundaries of the City of Seattle and in

25 Washington, including Plaintiff Stelman. At all relevant times, Defendant Orubu has been

26 married to J. Doe Orubu and did the acts complained of in pursuit of financial gain or livelihood

27 for himself individually and on behalf of and for the benefit of his marital community.

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 1          3.15    Defendant Butchie Boy Productions, Inc. d/b/a Exselon. Defendant Butchie Boy
 2 Productions, Inc. d/b/a Exselon is a Washington corporation doing business in King County,

 3 Washington. Defendant Butchie Boy Productions, Inc. d/b/a Exselon has jointly employed

 4 Plaintiff Stelman and scores of other employees within the geographic boundaries of the City of

 5 Seattle and in the state of Washington.

 6          3.16    Defendant Jeffrey Butcher. Defendant Jeffrey Butcher has at all relevant times
 7 been a manager or owner of Defendant Butchie Boy Productions, Inc. d/b/a Exselon and has

 8 been engaged in running the company’s business, managing the company’s finances,

 9 determining certain employment practices, maintaining certain employment records, and

10 exercising certain control over how the company’s employees are paid and their working

11 conditions. Defendant Jeffrey Butcher is a citizen of Washington. Defendant Jeffrey Butcher has

12 jointly employed scores of delivery drivers within the geographic boundaries of the City of

13 Seattle and in Washington, including Plaintiff Stelman. At all relevant times, Defendant Jeffrey

14 Butcher has been married to Kathryn Butcher and did the acts complained of in pursuit of

15 financial gain or livelihood for himself individually and on behalf of and for the benefit of his

16 marital community.

17          3.17    Defendant Kathryn Butcher. Defendant Kathryn Butcher has at all relevant times
18 been a manager or owner of Defendant Butchie Boy Productions, Inc. d/b/a Exselon and has

19 been engaged in running the company’s business, managing the company’s finances,

20 determining certain employment practices, maintaining certain employment records, and

21 exercising certain control over how the company’s employees are paid and their working

22 conditions. Defendant Kathryn Butcher is a citizen of Washington. Defendant Kathryn Butcher

23 has jointly employed scores of delivery drivers within the geographic boundaries of the City of

24 Seattle and in Washington, including Plaintiff Stelman. At all relevant times, Defendant Kathryn

25 Butcher has been married to Jeffrey Butcher and did the acts complained of in pursuit of

26 financial gain or livelihood for herself individually and on behalf of and for the benefit of her

27 marital community.

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 1          3.18    Defendant Asteroids Group LLC dba ASTG. Defendant Asteroids Group LLC dba
 2 ASTG is a Washington limited liability company doing business in King County, Washington.

 3 Defendant Asteroids Group LLC dba ASTG has jointly employed Plaintiff Mark Ochoa and scores

 4 of other employees within the geographic boundaries of the City of Seattle and in the state of

 5 Washington.

 6          3.19    Defendant Kingsley Onuchukwu. Defendant Kingsley Onuchukwu has at all
 7 relevant times been a manager or owner of Defendant Asteroids Group LLC dba ASTG and has

 8 been engaged in running the company’s business, managing the company’s finances,

 9 determining certain employment practices, maintaining certain employment records, and

10 exercising certain control over how the company’s employees are paid and their working

11 conditions. Defendant Onuchukwu is a citizen of Washington. Defendant Onuchukwu has

12 jointly employed scores of delivery drivers within the geographic boundaries of the City of

13 Seattle and in Washington, including Plaintiff Ochoa. At all relevant times, Defendant

14 Onuchukwu has been married to J. Doe Onuchukwu and did the acts complained of in pursuit of

15 financial gain or livelihood for himself individually and on behalf of and for the benefit of his

16 marital community.

17          3.20    Defendant Anahit Manukyan. Defendant Anahit Manukyan has at all relevant
18 times been a manager or owner of Defendant Asteroids Group LLC dba ASTG and has been

19 engaged in running the company’s business, managing the company’s finances, determining

20 certain employment practices, maintaining certain employment records, and exercising certain

21 control over how the company’s employees are paid and their working conditions. Defendant

22 Manukyan is a citizen of Washington. Defendant Manukyan has jointly employed scores of

23 delivery drivers within the geographic boundaries of the City of Seattle and in Washington,

24 including Plaintiff Ochoa. At all relevant times, Defendant Manukyan has been married to J. Doe

25 Manukyan and did the acts complained of in pursuit of financial gain or livelihood for herself

26 individually and on behalf of and for the benefit of her marital community.

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 1          3.21    Defendant Benchmark Transport, LLC. Defendant Benchmark Transport, LLC is a
 2 Washington limited liability company doing business in King County, Washington. Defendant

 3 Benchmark Transport, LLC has jointly employed Plaintiff Ochoa and scores of other employees

 4 within the geographic boundaries of the City of Seattle and in the state of Washington.

 5          3.22    Defendant Damien Wagner. Defendant Damien Wagner has at all relevant times
 6 been a manager or owner of Defendant Benchmark Transport, LLC and has been engaged in

 7 running the company’s business, managing the company’s finances, determining certain

 8 employment practices, maintaining certain employment records, and exercising certain control

 9 over how the company’s employees are paid and their working conditions. Defendant Wagner

10 is a citizen of Washington. Defendant Wagner has jointly employed scores of delivery drivers

11 within the geographic boundaries of the City of Seattle and in Washington, including Plaintiff

12 Ochoa. At all relevant times, Defendant Wagner has been married to J. Doe Wagner and did the

13 acts complained of in pursuit of financial gain or livelihood for himself individually and on behalf

14 of and for the benefit of his marital community.

15          3.23    Defendant Alden Radoncic (aka Alden Radd). Defendant Alden Radoncic (aka
16 Alden Radd) has at all relevant times been a manager or owner of Defendant Benchmark

17 Transport, LLC and has been engaged in running the company’s business, managing the

18 company’s finances, determining certain employment practices, maintaining certain

19 employment records, and exercising certain control over how the company’s employees are

20 paid and their working conditions. Defendant Radoncic is a citizen of Washington. Defendant

21 Radoncic has jointly employed scores of delivery drivers within the geographic boundaries of

22 the City of Seattle and in Washington, including Plaintiff Ochoa. At all relevant times, Defendant

23 Radoncic has been married to J. Doe Radoncic and did the acts complained of in pursuit of

24 financial gain or livelihood for himself individually and on behalf of and for the benefit of his

25 marital community.

26          3.24    Defendant The Total Package Logistics, LLC. Defendant The Total Package
27 Logistics, LLC is a Washington limited liability company doing business in King County,

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 1 Washington. Defendant The Total Package Logistics, LLC has jointly employed Plaintiff Coleman

 2 and scores of other employees in the state of Washington.

 3          3.25    Defendant Jeremy Fixler. Defendant Jeremy Fixler has at all relevant times been
 4 a manager or owner of Defendant The Total Package Logistics, LLC and has been engaged in

 5 running the company’s business, managing the company’s finances, determining certain

 6 employment practices, maintaining certain employment records, and exercising certain control

 7 over how the company’s employees are paid and their working conditions. Defendant Jeremy

 8 Fixler is a citizen of Washington. Defendant Jeremy Fixler has jointly employed scores of

 9 delivery drivers in Washington, including Plaintiff Coleman. At all relevant times, Defendant

10 Jeremy Fixler has been married to Heather Fixler and did the acts complained of in pursuit of

11 financial gain or livelihood for himself individually and on behalf of and for the benefit of his

12 marital community.

13          3.26    Defendant Heather Fixler. Defendant Heather Fixler has at all relevant times
14 been a manager or owner of Defendant Heather Fixler and has been engaged in running the

15 company’s business, managing the company’s finances, determining certain employment

16 practices, maintaining certain employment records, and exercising certain control over how the

17 company’s employees are paid and their working conditions. Defendant Heather Fixler is a

18 citizen of Washington. Defendant Heather Fixler has jointly employed scores of delivery drivers

19 in Washington, including Plaintiff Coleman. At all relevant times, Defendant Heather Fixler has

20 been married to Jeremy Fixler and did the acts complained of in pursuit of financial gain or

21 livelihood for herself individually and on behalf of and for the benefit of her marital community.

22          3.27    Defendant Nancy Luna. Defendant Nancy Luna has at all relevant times been a
23 manager or owner of Defendants The Total Package Logistics, LLC; Aslar Logistics LLC; GoPlay

24 Logistics LLC; Avanator.com LLC; and True Management LLC and has been engaged in running

25 the company’s business, managing the company’s finances, determining certain employment

26 practices, maintaining certain employment records, and exercising certain control over how the

27 company’s employees are paid and their working conditions. Defendant Luna has jointly

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 1 employed scores of delivery drivers within the geographic boundaries of the City of Seattle and

 2 in Washington, including Plaintiffs Coleman, Samuel, Hollerbach, Weatherston, and Nyaris. At

 3 all relevant times, Defendant Luna has been married to J. Doe Luna and did the acts complained

 4 of in pursuit of financial gain or livelihood for herself individually and on behalf of and for the

 5 benefit of her marital community.

 6          3.28    Defendant Aslar Logistics LLC. Defendant Aslar Logistics LLC is a Washington
 7 limited liability company doing business in King County, Washington. Defendant Aslar Logistics

 8 LLC has jointly employed Plaintiffs Coleman and Samuel and scores of other employees in the

 9 state of Washington.

10          3.29    Defendant Laura Johnson. Defendant Laura Johnson has at all relevant times
11 been a manager or owner of Defendant Aslar Logistics LLC and has been engaged in running the

12 company’s business, managing the company’s finances, determining certain employment

13 practices, maintaining certain employment records, and exercising certain control over how the

14 company’s employees are paid and their working conditions. Defendant Laura Johnson is a

15 citizen of Washington. Defendant Laura Johnson has jointly employed scores of delivery drivers

16 in Washington, including Plaintiffs Coleman and Samuel. At all relevant times, Defendant Laura

17 Johnson has been married to Joshua Johnson and did the acts complained of in pursuit of

18 financial gain or livelihood for herself individually and on behalf of and for the benefit of her

19 marital community.

20          3.30    Defendant Joshua Johnson. Defendant Joshua Johnson has at all relevant times
21 been a manager or owner of Defendant Aslar Logistics LLC and has been engaged in running the

22 company’s business, managing the company’s finances, determining certain employment

23 practices, maintaining certain employment records, and exercising certain control over how the

24 company’s employees are paid and their working conditions. Defendant Joshua Johnson is a

25 citizen of Washington. Defendant Joshua Johnson has jointly employed scores of delivery

26 drivers in Washington, including Plaintiffs Coleman and Samuel. At all relevant times,

27 Defendant Joshua Johnson has been married to Laura Johnson and did the acts complained of

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 1 in pursuit of financial gain or livelihood for himself individually and on behalf of and for the

 2 benefit of his marital community.

 3          3.31    Defendant GoPlay Logistics LLC. Defendant GoPlay Logistics LLC is a Washington
 4 limited liability company doing business in King County, Washington. Defendant GoPlay

 5 Logistics LLC has jointly employed Plaintiff Hollerbach and scores of other employees within the

 6 geographic boundaries of the City of Seattle and in the state of Washington.

 7          3.32    Defendant Tracy Pellett. Defendant Tracy Pellett has at all relevant times been a
 8 manager or owner of Defendant GoPlay Logistics LLC and has been engaged in running the

 9 company’s business, managing the company’s finances, determining certain employment

10 practices, maintaining certain employment records, and exercising certain control over how the

11 company’s employees are paid and their working conditions. Defendant Pellett is a citizen of

12 Washington. Defendant Pellett has jointly employed scores of delivery drivers within the

13 geographic boundaries of the City of Seattle and in Washington, including Plaintiff Hollerbach.

14 At all relevant times, Defendant Pellett has been married to J. Doe Pellett and did the acts

15 complained of in pursuit of financial gain or livelihood for himself individually and on behalf of

16 and for the benefit of his marital community.

17          3.33    Defendant Avanator.com LLC. Defendant Avanator.com LLC is a Washington
18 limited liability company doing business in King County, Washington. Defendant Avanator.com

19 LLC has jointly employed Plaintiff Weatherston and scores of other employees within the

20 geographic boundaries of the City of Seattle and in the state of Washington.

21          3.34    Defendant Richard Zech. Defendant Richard Zech has at all relevant times been a
22 manager or owner of Defendant Avanator.com LLC and has been engaged in running the

23 company’s business, managing the company’s finances, determining certain employment

24 practices, maintaining certain employment records, and exercising certain control over how the

25 company’s employees are paid and their working conditions. Defendant Zech is a citizen of

26 Washington. Defendant Zech has jointly employed scores of delivery drivers within the

27 geographic boundaries of the City of Seattle and in Washington, including Plaintiff

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 1 Weatherston. At all relevant times, Defendant Zech has been married to J. Doe Zech and did the

 2 acts complained of in pursuit of financial gain or livelihood for himself individually and on behalf

 3 of and for the benefit of his marital community.

 4          3.35    Defendant Pole Position Express Logistics LLC. Defendant Pole Position Express
 5 Logistics LLC is a Washington limited liability company doing business in King County,

 6 Washington. Defendant Pole Position Express Logistics LLC has jointly employed Plaintiff Wright

 7 and scores of other employees within the geographic boundaries of the City of Seattle and in

 8 the state of Washington.

 9          3.36    Defendant Dennis Hannah. Defendant Dennis Hannah has at all relevant times
10 been a manager or owner of Defendant Pole Position Express Logistics LLC and has been

11 engaged in running the company’s business, managing the company’s finances, determining

12 certain employment practices, maintaining certain employment records, and exercising certain

13 control over how the company’s employees are paid and their working conditions. Defendant

14 Hannah is a citizen of Washington. Defendant Hannah has jointly employed scores of delivery

15 drivers within the geographic boundaries of the City of Seattle and in Washington, including

16 Plaintiff Wright. At all relevant times, Defendant Hannah has been married to J. Doe Hannah

17 and did the acts complained of in pursuit of financial gain or livelihood for himself individually

18 and on behalf of and for the benefit of his marital community.

19          3.37    Defendant True Management LLC. Defendant True Management LLC is a
20 Washington limited liability company doing business in King County, Washington. Defendant

21 True Management LLC has jointly employed Plaintiff Nyaris and scores of other employees in

22 the state of Washington.

23          3.38    Defendant Christopher Lilley. Defendant Christopher Lilley has at all relevant
24 times been a manager or owner of Defendant True Management LLC and has been engaged in

25 running the company’s business, managing the company’s finances, determining certain

26 employment practices, maintaining certain employment records, and exercising certain control

27 over how the company’s employees are paid and their working conditions. Defendant Lilley is a

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 1 citizen of Washington. Defendant Lilley has jointly employed scores of delivery drivers in

 2 Washington, including Plaintiff Nyaris. At all relevant times, Defendant Lilley has been married

 3 to J. Doe Lilley and did the acts complained of in pursuit of financial gain or livelihood for

 4 himself individually and on behalf of and for the benefit of his marital community.

 5          3.39    Defendant B.B.W. Holdings, Inc. Defendant B.B.W. Holdings, Inc. is a Michigan
 6 corporation doing business in King County, Washington. Defendant B.B.W. Holdings, Inc. has

 7 jointly employed Plaintiff Hernandez and scores of other employees in the state of Washington.

 8          3.40    Defendant Barry Williams. Defendant Barry Williams has at all relevant times
 9 been a manager or owner of Defendant B.B.W. Holdings, Inc. and has been engaged in running

10 the company’s business, managing the company’s finances, determining certain employment

11 practices, maintaining certain employment records, and exercising certain control over how the

12 company’s employees are paid and their working conditions. Defendant Williams has jointly

13 employed scores of delivery drivers in Washington, including Plaintiff Hernandez. At all relevant

14 times, Defendant Williams has been married to J. Doe Williams and did the acts complained of

15 in pursuit of financial gain or livelihood for himself individually and on behalf of and for the

16 benefit of his marital community.

17          3.41    Defendant Paragon Deliveries Inc. Defendant Paragon Deliveries Inc. is a
18 Washington corporation doing business in King County, Washington. Defendant Paragon

19 Deliveries Inc. has jointly employed Plaintiff Moore and scores of other employees in the state

20 of Washington.

21          3.42    Defendant Jordan Offutt. Defendant Jordan Offutt has at all relevant times been
22 a manager or owner of Defendant Paragon Deliveries Inc. and has been engaged in running the

23 company’s business, managing the company’s finances, determining certain employment

24 practices, maintaining certain employment records, and exercising certain control over how the

25 company’s employees are paid and their working conditions. Defendant Offutt is a citizen of

26 Washington. Defendant Offutt has jointly employed scores of delivery drivers in Washington,

27 including Plaintiff Moore. At all relevant times, Defendant Offutt has been married to J. Doe

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 1 Offutt and did the acts complained of in pursuit of financial gain or livelihood for himself

 2 individually and on behalf of and for the benefit of his marital community.

 3                                 IV.     CLASS ACTION ALLEGATIONS
 4          4.1     Class Definitions.
 5                  4.1.1 The Class. Under Civil Rule 23(a) and (b)(3), Plaintiffs bring this case as a
 6 class action against the Amazon Defendants on behalf of the class defined as follows (the

 7 “Class”):

 8
                    All persons who, between September 30, 2019, and the date of
 9                  final disposition of this action, have performed services for the
                    Amazon Defendants in Washington as non‐managerial and non‐
10                  supervisory package delivery drivers and have been paid by a
                    contracted delivery service provider that had an Amazon Delivery
11
                    Provider agreement with one or both of the Amazon Defendants.
12

13                  4.1.2 The Seattle Subclass. Under Civil Rule 23(a) and (b)(3), Plaintiffs Stelman,

14 Ochoa, Hollerbach, Weatherston, and Wright also bring this case against the Amazon

15 Defendants on behalf of a subclass defined as follows (the “Seattle Subclass”):

16                  All persons who, between September 30, 2019, and the date of
                    final disposition of this action, have performed services for the
17
                    Amazon Defendants in the city of Seattle as non‐managerial and
18                  non‐supervisory package delivery drivers and have been paid by a
                    contracted delivery service provider that had an Amazon Delivery
19                  Provider agreement with one or both of the Amazon Defendants.
20
                    4.1.3 The TEM Express Logistics Subclass. Under Civil Rule 23(a) and (b)(3),
21
     Plaintiff Stelman also brings this case as a class action against the Amazon Defendants and
22
     Defendants TEM Express Logistics LLC dba Temex Logistics and TEML and Toritse Orubu on
23
     behalf of a subclass defined as follows (the “TEM Express Logistics Subclass”):
24

25                  All persons who, between September 30, 2019, and the date of
                    final disposition of this action, have been paid by Defendant TEM
26                  Express Logistics LLC dba Temex Logistics and TEML to perform
27

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                    services for the Amazon Defendants in Washington as non‐
 1
                    managerial and non‐supervisory package delivery drivers.
 2
                    4.1.4 The TEM Express Logistics Seattle Subclass. Under Civil Rule 23(a) and
 3
     (b)(3), Plaintiff Stelman also brings this case as a class action against the Amazon Defendants
 4
     and Defendants TEM Express Logistics LLC dba Temex Logistics and TEML and Toritse Orubu on
 5
     behalf of a subclass defined as follows (the “TEM Express Logistics Seattle Subclass”):
 6

 7                  All persons who, between September 30, 2019, and the date of
                    final disposition of this action, have been paid by Defendant TEM
 8                  Express Logistics LLC dba Temex Logistics and TEML to perform
 9                  services for the Amazon Defendants in the city of Seattle as non‐
                    managerial and non‐supervisory package delivery drivers.
10

11                  4.1.5 The Exselon Subclass. Under Civil Rule 23(a) and (b)(3), Plaintiff Stelman

12 also brings this case as a class action against the Amazon Defendants and Defendants Butchie

13 Boy Productions, Inc. d/b/a Exselon, Jeffrey Butcher, and Kathryn Butcher on behalf of a

14 subclass defined as follows (the “Exselon Subclass”):

15                  All persons who, between September 30, 2019, and the date of
16                  final disposition of this action, have been paid by Defendant
                    Butchie Boy Productions, Inc. d/b/a Exselon to perform services for
17                  the Amazon Defendants in Washington as non‐managerial and
                    non‐supervisory package delivery drivers.
18

19                  4.1.6 The Exselon Seattle Subclass. Under Civil Rule 23(a) and (b)(3), Plaintiff
20 Stelman also brings this case as a class action against the Amazon Defendants and Defendants

21 Butchie Boy Productions, Inc. d/b/a Exselon, Jeffrey Butcher, and Kathryn Butcher on behalf of

22 a subclass defined as follows (the “Exselon Seattle Subclass”):

23
                    All persons who, between September 30, 2019, and the date of
24                  final disposition of this action, have been paid by Defendant
                    Butchie Boy Productions, Inc. d/b/a Exselon to perform services for
25                  the Amazon Defendants in the city of Seattle as non‐managerial
26                  and non‐supervisory package delivery drivers.

27

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 1                  4.1.7 The Asteroids Group Subclass. Under Civil Rule 23(a) and (b)(3), Plaintiff
 2 Ochoa also brings this case as a class action against the Amazon Defendants and Defendants

 3 Asteroids Group LLC dba ASTG, Kingsley Onuchukwu, and Anahit Manukyan on behalf of a

 4 subclass defined as follows (the “Asteroids Group Subclass”):

 5
                    All persons who, between September 30, 2019, and the date of
 6                  final disposition of this action, have been paid by Defendant
                    Asteroids Group LLC dba ASTG to perform services for the Amazon
 7                  Defendants in Washington as non‐managerial and non‐supervisory
                    package delivery drivers.
 8

 9                  4.1.8 The Asteroids Group Seattle Subclass. Under Civil Rule 23(a) and (b)(3),
10 Plaintiff Ochoa also brings this case as a class action against the Amazon Defendants and

11 Defendants Asteroids Group LLC dba ASTG, Kingsley Onuchukwu, and Anahit Manukyan on

12 behalf of a subclass defined as follows (the “Asteroids Group Seattle Subclass”):

13
                    All persons who, between September 30, 2019, and the date of
14                  final disposition of this action, have been paid by Defendant
                    Asteroids Group LLC dba ASTG to perform services for the Amazon
15
                    Defendants in the city of Seattle as non‐managerial and non‐
16                  supervisory package delivery drivers.

17
                    4.1.9 The Benchmark Transport Subclass. Under Civil Rule 23(a) and (b)(3),
18
     Plaintiff Ochoa also brings this case as a class action against the Amazon Defendants and
19
     Defendants Benchmark Transport, LLC, Damien Wagner, and Alden Radoncic (aka Alden Radd)
20
     on behalf of a subclass defined as follows (the “Benchmark Transport Subclass”):
21
                    All persons who, between September 30, 2019, and the date of
22                  final disposition of this action, have been paid by Defendant
23                  Benchmark Transport, LLC to perform services for the Amazon
                    Defendants in Washington as non‐managerial and non‐supervisory
24                  package delivery drivers.
25
                    4.1.10 The Benchmark Transport Seattle Subclass. Under Civil Rule 23(a) and
26
     (b)(3), Plaintiff Ochoa also brings this case as a class action against the Amazon Defendants and
27

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 1 Defendants Benchmark Transport, LLC, Damien Wagner, and Alden Radoncic (aka Alden Radd)

 2 on behalf of a subclass defined as follows (the “Benchmark Transport Seattle Subclass”):

 3
                    All persons who, between September 30, 2019, and the date of
 4                  final disposition of this action, have been paid by Defendant
                    Benchmark Transport, LLC to perform services for the Amazon
 5                  Defendants in the city of Seattle as non‐managerial and non‐
                    supervisory package delivery drivers.
 6

 7                  4.1.11 The Total Package Logistics Subclass. Under Civil Rule 23(a) and (b)(3),
 8 Plaintiff Coleman also brings this case as a class action against the Amazon Defendants and

 9 Defendants The Total Package Logistics, LLC, Jeremy Fixler, Heather Fixler, and Nancy Luna on

10 behalf of a subclass defined as follows (the “Total Package Logistics Subclass”):

11
                    All persons who, between September 30, 2019, and the date of
12                  final disposition of this action, have been paid by Defendant The
                    Total Package Logistics, LLC to perform services for the Amazon
13
                    Defendants in Washington as non‐managerial and non‐supervisory
14                  package delivery drivers.

15
                    4.1.12 The Aslar Logistics Subclass. Under Civil Rule 23(a) and (b)(3), Plaintiffs
16
     Coleman and Samuel also bring this case as a class action against the Amazon Defendants and
17
     Defendants Aslar Logistics LLC, Laura Johnson, Joshua Johnson, and Nancy Luna on behalf of a
18
     subclass defined as follows (the “Aslar Logistics Subclass”):
19
                    All persons who, between September 30, 2019, and the date of
20                  final disposition of this action, have been paid by Defendant Aslar
21                  Logistics LLC to perform services for the Amazon Defendants in
                    Washington as non‐managerial and non‐supervisory package
22                  delivery drivers.
23
                    4.1.13 The GoPlay Logistics Subclass. Under Civil Rule 23(a) and (b)(3), Plaintiff
24
     Hollerbach also brings this case as a class action against the Amazon Defendants and
25
     Defendants GoPlay Logistics LLC, Tracy Pellett, and Nancy Luna on behalf of a subclass defined
26
     as follows (the “GoPlay Logistics Subclass”):
27

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 1
                    All persons who, between September 30, 2019, and the date of
 2                  final disposition of this action, have been paid by Defendant GoPlay
                    Logistics LLC to perform services for the Amazon Defendants in
 3                  Washington as non‐managerial and non‐supervisory package
                    delivery drivers.
 4

 5                  4.1.14 The GoPlay Logistics Seattle Subclass. Under Civil Rule 23(a) and (b)(3),
 6 Plaintiff Hollerbach also brings this case as a class action against the Amazon Defendants and

 7 Defendants GoPlay Logistics LLC, Tracy Pellett, and Nancy Luna on behalf of a subclass defined

 8 as follows (the “GoPlay Logistics Seattle Subclass”):

 9
                    All persons who, between September 30, 2019, and the date of
10                  final disposition of this action, have been paid by Defendant GoPlay
                    Logistics LLC to perform services for the Amazon Defendants in the
11
                    city of Seattle as non‐managerial and non‐supervisory package
12                  delivery drivers.

13
                    4.1.15 The Avanator.com Subclass. Under Civil Rule 23(a) and (b)(3), Plaintiff
14
     Weatherston also brings this case as a class action against the Amazon Defendants and
15
     Defendants Avanator.com LLC, Richard Zech, and Nancy Luna on behalf of a subclass defined as
16
     follows (the “Avanator.com Subclass”):
17
                    All persons who, between September 30, 2019, and the date of
18                  final disposition of this action, have been paid by Defendant
19                  Avanator.com LLC to perform services for the Amazon Defendants
                    in Washington as non‐managerial and non‐supervisory package
20                  delivery drivers.
21
                    4.1.16 The Avanator.com Seattle Subclass. Under Civil Rule 23(a) and (b)(3),
22
     Plaintiff Weatherston also brings this case as a class action against the Amazon Defendants and
23
     Defendants Avanator.com LLC, Richard Zech, and Nancy Luna on behalf of a subclass defined as
24
     follows (the “Avanator.com Seattle Subclass”):
25

26                  All persons who, between September 30, 2019, and the date of
                    final disposition of this action, have been paid by Defendant
27                  Avanator.com LLC to perform services for the Amazon Defendants

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                    in the city of Seattle as non‐managerial and non‐supervisory
 1
                    package delivery drivers.
 2
                    4.1.17 The Pole Position Express Logistics Subclass. Under Civil Rule 23(a) and
 3
     (b)(3), Plaintiff Wright also brings this case as a class action against the Amazon Defendants and
 4
     Defendants Pole Position Express Logistics LLC and Dennis Hannah on behalf of a subclass
 5
     defined as follows (the “Pole Position Express Logistics Subclass”):
 6

 7                  All persons who, between September 30, 2019, and the date of
                    final disposition of this action, have been paid by Defendant Pole
 8                  Position Express Logistics LLC to perform services for the Amazon
 9                  Defendants in Washington as non‐managerial and non‐supervisory
                    package delivery drivers.
10

11                  4.1.18 The Pole Position Express Logistics Seattle Subclass. Under Civil Rule 23(a)

12 and (b)(3), Plaintiff Wright also brings this case as a class action against the Amazon Defendants

13 and Defendants Pole Position Express Logistics LLC and Dennis Hannah on behalf of a subclass

14 defined as follows (the “Pole Position Express Logistics Seattle Subclass”):

15                  All persons who, between September 30, 2019, and the date of
16                  final disposition of this action, have been paid by Defendant Pole
                    Position Express Logistics LLC to perform services for the Amazon
17                  Defendants in the city of Seattle as non‐managerial and non‐
                    supervisory package delivery drivers.
18

19                  4.1.19 The True Management Subclass. Under Civil Rule 23(a) and (b)(3),
20 Plaintiff Nyaris also brings this case as a class action against the Amazon Defendants and

21 Defendants True Management LLC, Christopher Lilley, and Nancy Luna on behalf of a subclass

22 defined as follows (the “True Management Subclass”):

23
                    All persons who, between September 30, 2019, and the date of
24                  final disposition of this action, have been paid by Defendant True
                    Management LLC to perform services for the Amazon Defendants
25                  in Washington as non‐managerial and non‐supervisory package
26                  delivery drivers.

27

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 1                  4.1.20 The B.B.W. Holdings Subclass. Under Civil Rule 23(a) and (b)(3), Plaintiff
 2 Hernandez also brings this case as a class action against the Amazon Defendants and

 3 Defendants B.B.W. Holdings, Inc. and Barry Williams on behalf of a subclass defined as follows

 4 (the “B.B.W. Holdings Subclass”):

 5
                    All persons who, between September 30, 2019, and the date of
 6                  final disposition of this action, have been paid by Defendant B.B.W.
                    Holdings, Inc. to perform services for the Amazon Defendants in
 7                  Washington as non‐managerial and non‐supervisory package
                    delivery drivers.
 8

 9                  4.1.21 The Paragon Deliveries Subclass. Under Civil Rule 23(a) and (b)(3),
10 Plaintiff Moore also brings this case as a class action against the Amazon Defendants and

11 Defendants Paragon Deliveries Inc. and Jordan Offutt on behalf of a subclass defined as follows

12 (the “Paragon Deliveries Subclass”):

13
                    All persons who, between September 30, 2019, and the date of
14                  final disposition of this action, have been paid by Defendant
                    Paragon Deliveries Inc. to perform services for the Amazon
15
                    Defendants in Washington as non‐managerial and non‐supervisory
16                  package delivery drivers.

17          Excluded from the Class and Subclasses are:
18                  (1) drivers who performed package delivery services for the
19                  Amazon Defendants pursuant to a contract entered into directly
                    between the driver and one or both of the Amazon Defendants at
20                  any point since September 30, 2019, including any Amazon Flex
                    drivers, but only as to the work these drivers performed under such
21
                    contracts—meaning these drivers are included in the Class and
22                  Subclasses with respect to any work performed under a contracted
                    delivery service provider; and
23

24                  (2) drivers who have been owners or corporate officers of any
                    entity that had an Amazon Delivery Provider Agreement with one
25
                    or both of the Amazon Defendants since September 30, 2019.
26

27

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 1          4.2     Numerosity. Plaintiffs believe that hundreds of persons have worked as delivery
 2 drivers for Defendants in Washington during the proposed class period. The members of the

 3 Class and Subclasses are each so numerous that joinder of all such members is impracticable.

 4 Moreover, the disposition of the claims of the Class and Subclasses in a single action will

 5 provide substantial benefits to all parties and the Court.

 6          4.3     Commonality. There are numerous questions of law and fact common to
 7 Plaintiffs and members of the Class and Subclasses. These questions include, but are not limited

 8 to, the following:

 9                  4.3.1 Whether the Amazon Defendants are joint employers of the members of
10 the Class and Subclasses;

11                  4.3.2 Whether Defendants have engaged in a common course of failing to
12 provide members of the Class and Subclasses with a ten‐minute rest break for every four hours

13 of work;

14                  4.3.3 Whether Defendants have engaged in a common course of requiring
15 members of the Class and Subclasses to work more than three consecutive hours without a rest

16 break;

17                  4.3.4 Whether Defendants have engaged in a common course of failing to
18 ensure members of the Class and Subclasses have received the rest breaks to which they are

19 entitled;

20                  4.3.5 Whether Defendants have engaged in a common course of failing to pay
21 members of the Class and Subclasses an additional ten minutes of compensation for each

22 missed rest break;

23                  4.3.6 Whether Defendants have engaged in a common course of failing to
24 provide members of the Class and Subclasses with a thirty‐minute meal break for every five

25 hours of work;

26

27

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 1                  4.3.7 Whether Defendants have engaged in a common course of failing to
 2 ensure that members of the Class and Subclasses have received the meal breaks to which they

 3 are entitled;

 4                  4.3.8 Whether Defendants have engaged in a common course of failing to pay
 5 members of the Class and Subclasses an additional thirty minutes of compensation for each

 6 missed meal break;

 7                  4.3.9 Whether Defendants have failed to keep true and accurate time records
 8 for all hours worked by members of the Class and Subclasses;

 9                  4.3.10    Whether Defendants have engaged in a common course of failing to
10 pay members of the Class and Subclasses for each hour of work;

11                  4.3.11    Whether Defendants have engaged in a common course of failing to
12 pay all overtime wages owed to members of the Class and Subclasses for hours worked in

13 excess of forty per workweek;

14                  4.3.12    Whether Defendants’ failure to pay all wages owed to members of the
15 Class and Subclasses was willful;

16                  4.3.13    Whether Defendants have violated RCW 49.12.020;
17                  4.3.14    Whether Defendants have violated WAC 296‐126‐092;
18                  4.3.15    Whether Defendants have violated RCW 49.46.020;
19                  4.3.16    Whether Defendants have violated RCW 49.46.090;
20                  4.3.17    Whether Defendants have violated RCW 49.46.130;
21                  4.3.18    Whether Defendants have violated WAC 296‐128‐550;
22                  4.3.19    Whether Defendants have violated RCW 49.52.050;
23                  4.3.20    Whether Defendants have violated WAC 296‐128‐010;
24                  4.3.21    Whether Defendants have violated WAC 296‐126‐040;
25                  4.3.22    Whether Defendants have violated SMC 14.20.020 and SMC
26 14.19.035;

27

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 1                  4.3.23    Whether Defendants have violated SMC 14.20.025;
 2                  4.3.24    Whether Defendants have violated SMC 14.20.030; and
 3                  4.3.25    The nature and extent of the injury to the Class and Subclasses.
 4          4.4     Typicality. Plaintiffs’ claims are typical of the claims of the Class and Subclasses.
 5 All Plaintiffs performed services in the state of Washington for the Amazon Defendants as

 6 delivery drivers and have worked directly for an Amazon DSP in the state of Washington and

 7 are thus members of the Class and the respective DSP Subclass naming the DSP for which they

 8 worked. Plaintiffs Stelman, Ochoa, Hollerbach, Weatherston, and Wright performed services in

 9 the city of Seattle for the Amazon Defendants as delivery drivers and have worked directly for

10 an Amazon DSP in the city of Seattle and thus are also members of the Seattle Subclass and the

11 respective DSP Seattle Subclass naming the DSP for which they worked. Plaintiffs’ claims, like

12 the claims of the Class and Subclasses, arise out of the same common course of conduct by

13 Defendants and are based on the same legal and remedial theories, including that the Amazon

14 Defendants are joint employers of Plaintiffs and members of the Class and Subclasses under

15 both Washington law and the Seattle Municipal Code.

16          4.5     Adequacy. Plaintiffs will fairly and adequately protect the interests of the Class
17 and Subclasses. Plaintiffs have retained competent and capable attorneys who have significant

18 experience in complex and class action employment law litigation. Plaintiffs and their counsel

19 are committed to prosecuting this action vigorously on behalf of the Class and Subclasses and

20 have the financial resources to do so. Neither Plaintiffs nor their counsel have interests that are

21 contrary to or that conflict with those of the Class and Subclasses.

22          4.6     Predominance. Defendants have engaged in a common course of wage and hour
23 abuse toward Plaintiffs and members of the Class and Subclasses. The common issues arising

24 from this conduct that affect Plaintiffs and members of the Class and Subclasses predominate

25 over any individual issues. Adjudication of these common issues in a single action has important

26 and desirable advantages of judicial economy.

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 1          4.7     Superiority. Plaintiffs and members of the Class and Subclasses have suffered
 2 and will continue to suffer harm and damages as a result of Defendants’ unlawful and wrongful

 3 conduct. Absent a class action, however, most members of the Class and Subclasses likely

 4 would find the cost of litigating their claims prohibitive. Class treatment is superior to multiple

 5 individual suits or piecemeal litigation because it conserves judicial resources, promotes

 6 consistency and efficiency of adjudication, provides a forum for small claimants, and deters

 7 illegal activities. There will be no significant difficulty in the management of this case as a class

 8 action. The members of the Class and Subclasses are readily identifiable from Defendants’

 9 records.

10                            V.      SUMMARY OF FACTUAL ALLEGATIONS
11          5.1     Common Course of Conduct: Joint Employment. The Amazon Defendants are
12 joint employers of all delivery drivers in Washington who have worked directly for an Amazon

13 Delivery Service Provider that has a Delivery Provider agreement with Amazon. The following

14 facts, among many others, show that the Amazon Defendants are joint employers of Plaintiffs

15 and members of the Class and Subclasses:

16                  5.1.1 The Amazon Defendants instruct Plaintiffs and members of the Class and
17 Subclasses regarding what packages to deliver, on what days to deliver those packages, and in

18 what order to deliver those packages. The drivers must perform these duties while driving

19 Amazon branded delivery vehicles, wearing Amazon branded uniforms, using Amazon “Rabbit”

20 or other Amazon delivery devices, and acting on the direction of Amazon. Indeed, Plaintiffs and

21 members of the Class and Subclasses have been dependent on Amazon for virtually every

22 aspect of their jobs, including the existence of the job itself. Although Plaintiffs and members of

23 the Class and Subclasses work for so‐called Delivery Service Providers on Amazon routes, the

24 Amazon Defendants have retained control over the manner and means by which Plaintiffs and

25 members of the Class and Subclasses perform their jobs.

26                  5.1.2 The Amazon Defendants control driver schedules and work hours by,
27 among other things, (1) requiring drivers to arrive at an Amazon distribution center, where they

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 1 pick up Amazon packages, at or near the beginning of their shifts, (2) requiring drivers to load

 2 packages into Amazon‐branded vans, (3) requiring drivers to scan all packages using the

 3 Amazon Rabbit or other Amazon delivery device, (4) requiring drivers to deliver packages within

 4 certain time frames, (5) requiring drivers to use the Mentor application installed on the Amazon

 5 Rabbit or other electronic device to track their driving habits, delivery speed, and nearly every

 6 other movement throughout their shift; and (6) requiring drivers to return to the Amazon

 7 distribution center at the end of each day with any undelivered packages.

 8                  5.1.3 The Amazon Defendants require drivers to abide by certain delivery rules
 9 and procedures.

10                  5.1.4 The Amazon Defendants require drivers to inform Amazon officials when
11 they cannot deliver packages by calling Amazon Transportation Operations Center (“TOC”).

12                  5.1.5 The Amazon Defendants require drivers to follow all Amazon TOC
13 instructions.

14                  5.1.6 The Amazon Defendants provide orientation and training to the drivers
15 on the use of the “Rabbit” device and Amazon delivery software and calling Amazon TOC.

16                  5.1.7 The Amazon Defendants maintain detailed records of each driver’s status
17 and package delivery times.

18                  5.1.8 The Amazon Defendants direct drivers to take pictures of packages in the
19 position where they have been delivered and to inform Amazon officials when packages are not

20 delivered.

21                  5.1.9 The work of drivers is one step—collecting and delivering packages—in
22 the sequence of steps necessary to Amazon’s business model. This job does not require

23 specialized skills or a high degree of judgment.

24                  5.1.10   The process for package delivery can pass from one delivery contractor
25 to another without any material changes. Regardless of who acts as the delivery contractor, the

26 work directed by Amazon remains the same.

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 1                  5.1.11   The drivers use the premises and equipment of the Amazon Defendants
 2 for their work. Plaintiffs and members of the Class and Subclasses regularly start and end their

 3 delivery routes at Amazon warehouses. They interact with Amazon warehouse workers when

 4 sorting packages and at the beginning and end of their route.

 5                  5.1.12   The Amazon Defendants require drivers to return any undelivered
 6 packages (“concessions”) to the Amazon warehouse from which the packages were picked up.

 7                  5.1.13   The Amazon Defendants have made a considerable investment in
 8 equipment and materials necessary for the work of Plaintiffs and members of the Class and

 9 Subclasses. Among other things, Amazon provides Rabbits and other electronic devices for

10 drivers to record their work time and deliveries, customer service department employees to

11 handle customer complaints and inquiries, the package delivery infrastructure in which drivers

12 work, and the warehouses necessary for the drivers’ work.

13                  5.1.14   Plaintiffs and members of the Class and Subclasses have no opportunity
14 for profit or loss depending on their managerial skill.

15                  5.1.15   The economic reality is that Plaintiffs and members of the Class and
16 Subclasses are dependent on Amazon—the entity to which they render package pick‐up and

17 delivery services—for virtually every aspect of their jobs.

18                  5.1.16   The package pick‐up and delivery services of Plaintiffs and members of
19 the Class and Subclasses are an integral part of Amazon’s business.

20          5.2     Common Course of Conduct: Failure to Provide Proper Rest Breaks. Defendants
21 have engaged in a common course of failing to provide members of the Class and Subclasses

22 with a paid ten‐minute rest break for every four hours of work.

23                  5.2.1 Defendants have engaged in a common course of requiring or permitting
24 members of the Class and Subclasses to work more than three consecutive hours without a rest

25 break.

26                  5.2.2 Defendants have engaged in a common course of failing to ensure
27 members of the Class and Subclasses have taken the rest breaks to which they are entitled.

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 1                  5.2.3 Defendants have engaged in a common course of failing to provide
 2 members of the Class and Subclasses with ten minutes of additional pay for each missed rest

 3 break.

 4                  5.2.4 Defendants’ delivery drivers do not have time to take rest breaks because
 5 their routes are very busy, often requiring delivery of 200 to 300 packages per day, and

 6 Defendants have no system in place to relieve employees during busy periods in order for the

 7 employees to take rest breaks.

 8                  5.2.5 Defendants’ delivery drivers are frequently unable to even stop to use a
 9 restroom during the entirety of their shifts because there is so much pressure from Defendants

10 to deliver a high volume of packages in as little time as possible. Consequently, drivers must

11 resort to urinating in bottles or cans in their delivery vans or relieving themselves along the side

12 of the road or in wooded areas. Some drivers have found bottles of urine or bags of excrement

13 left behind by other drivers in delivery vans, totes, or in Amazon warehouses. Other drivers

14 have even been instructed by supervisors not to stop for restroom breaks but to instead urinate

15 into bottles in their vans so they can complete all of their deliveries on time.

16                  5.2.6 Defendants have had actual or constructive knowledge of the fact that
17 hourly paid employees do not receive ten‐minute rest breaks for every four hours of work,

18 must work more than three consecutive hours without a rest break, and do not receive ten

19 minutes of additional pay for each rest break they miss.

20          5.3     Common Course of Conduct: Failure to Provide Proper Meal Breaks. Defendants
21 have engaged in, and continue to engage in, a common course of failing to provide their hourly

22 paid employees with an uninterrupted, thirty‐minute meal break for every five hours of work

23 and requiring or permitting their hourly paid employees to work more than five consecutive

24 hours without a meal break.

25                  5.3.1 Defendants have engaged in a common course of requiring or permitting
26 members of the Class and Subclasses to work more than five consecutive hours without a meal

27 break.

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 1                  5.3.2 Defendants have engaged in a common course of failing to ensure
 2 members of the Class and Subclasses have taken the meal breaks to which they are entitled.

 3                  5.3.3 Defendants have engaged in a common course of failing to provide
 4 members of the Class and Subclasses with thirty minutes of additional pay for each missed meal

 5 break.

 6                  5.3.4 Plaintiffs and members of the Class and Subclasses regularly are unable
 7 to take the full, thirty‐minute meal breaks to which they are entitled because of how many

 8 packages they must deliver.

 9                  5.3.5 Plaintiffs and members of the Class and Subclasses often eat only while
10 on‐the‐go to ensure they can complete all their necessary work.

11                  5.3.6 Defendants have had actual or constructive knowledge of the fact that
12 hourly paid employees do not receive uninterrupted, thirty‐minute meal breaks for every five

13 hours of work and are required or permitted to work more than five consecutive hours without

14 a meal break.

15          5.4     Common Course of Conduct: Failure to Pay for All Hours Worked. Defendants
16 have engaged in a common course of failing to pay Plaintiffs and members of the Class and

17 Subclasses for each hour worked. Defendants have also engaged in a common course of failing

18 to pay Plaintiffs and members of the Class and Subclasses for off‐the‐clock work that the

19 Amazon Defendants suffered, permitted, or required the drivers to perform.

20                  5.4.1 Before clocking in for their shifts, Plaintiffs and members of the Class and
21 Subclasses were required to perform work off the clock, including safety checks on delivery

22 vans; moving delivery vans from one location to another; and driving delivery vans from off‐site

23 parking lots where vans were stored to the Amazon distribution warehouse at a separate

24 location to pick up packages for delivery. Plaintiffs and members of the Class and Subclasses

25 were not allowed to clock in for their shift until after they performed this work or after they

26 arrived at the second location.

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 1                  5.4.2 At the end of every shift, Plaintiffs and members of the Class and
 2 Subclasses were required to return to the Amazon warehouse with any undelivered packages.

 3 Plaintiffs and members of the Class and Subclasses were required to clock out before

 4 performing end‐of‐shift activities, including debriefing dispatchers and warehouse workers;

 5 conducting post‐trip inspections, and driving delivery vans back to the location where the vans

 6 were stored.

 7                  5.4.3 As a result of Defendants’ common course of suffering, permitting, or
 8 requiring Plaintiffs and members of the Class and Subclasses to perform off‐the‐clock work,

 9 Defendants have failed to pay Plaintiffs and members of the Class and Subclasses for all hours

10 worked.

11                  5.4.4 Defendants have had actual or constructive knowledge of the fact that
12 they have not paid Plaintiffs and members of the Class and Subclasses for all hours worked.

13          5.5     Common Course of Conduct: Failure to Pay Overtime Wages. Defendants have
14 engaged in a common course of failing to pay proper overtime wages to members of the Class

15 and Subclasses.

16                  5.5.1 Members of the Class and Subclasses are entitled to one and one‐half
17 times the regular rate of pay for all hours worked in excess of forty hours per week.

18                  5.5.2 Defendants did not pay overtime compensation to the members of the
19 Class and Subclasses for the unpaid hours described in Paragraph 5.4 above.

20                  5.5.3 The Amazon Defendants failed to pay Plaintiffs and members of the Class
21 and Subclasses one and one‐half times the regular rate of pay for all hours worked in excess of

22 forty hours per week. Plaintiffs and members of the Class and Subclasses regularly worked

23 more than forty hours per week, but the Amazon Defendants did not properly compensate

24 them for all overtime hours worked.

25                  5.5.4 The Amazon Defendants refuse to recognize Plaintiffs and members of
26 the Class and Subclasses as employees and thus fails to pay them overtime wages when they

27 work more than 40 hours per week.

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 1                  5.5.5 The Amazon Defendants fail to pay their Delivery Service Providers a
 2 sufficient amount to ensure the Delivery Service Providers pay all required overtime wages to

 3 second‐tier delivery drivers.

 4                  5.5.6     Defendants’ failure to compensate employees for missed rest and
 5 meal breaks also results in Defendants’ failure to pay members of the Class and Subclasses all

 6 required overtime wages when the missed rest and meal breaks extend the hours worked in a

 7 week beyond forty.

 8                  5.5.7     Defendants have had actual or constructive knowledge of the fact that
 9 members of the Class and Subclasses were not properly compensated for all overtime hours

10 worked.

11                                   VI.    FIRST CLAIM FOR RELIEF
12      (Violations of RCW 49.12.020 and WAC 296‐126‐092 — Failure to Provide Rest Periods)
13          6.1     Plaintiffs reallege and incorporate by reference each and every allegation set
14 forth in the preceding paragraphs.

15          6.2     RCW 49.12.010 provides that “[t]he welfare of the state of Washington demands
16 that all employees be protected from conditions of labor which have a pernicious effect on

17 their health. The state of Washington, therefore, exercising herein its police and sovereign

18 power declares that inadequate wages and unsanitary conditions of labor exert such pernicious

19 effect.”

20          6.3     RCW 49.12.020 provides that “[i]t shall be unlawful to employ any person in any
21 industry or occupation within the state of Washington under conditions of labor detrimental to

22 their health.”

23          6.4     Under RCW 49.12.005 and WAC 296‐126‐002, “conditions of labor” “means and
24 includes the conditions of rest and meal periods” for employees.

25          6.5     WAC 296‐126‐092 provides that employees shall be allowed certain paid rest
26 periods during their shifts.

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 1          6.6     Under Washington law, Defendants have an obligation to provide employees
 2 with the rest breaks to which they are entitled.

 3          6.7     Under Washington law, Defendants have an obligation to ensure that employees
 4 take the rest breaks to which they are entitled.

 5          6.8     Under Washington law, Defendants have an obligation to provide employees
 6 with ten minutes of additional pay for each missed rest break.

 7          6.9     By the actions alleged above, Defendants have violated the provisions of RCW
 8 49.12.020 and WAC 296‐126‐092.

 9          6.10    As a result of the unlawful acts of Defendants, Plaintiffs and members of the
10 Class and Subclasses have been deprived of compensation in amounts to be determined at trial,

11 and Plaintiffs and members of the Class and Subclasses are entitled to the recovery of such

12 damages, including interest thereon, attorneys’ fees under RCW 49.48.030, and costs.

13                                 VII.    SECOND CLAIM FOR RELIEF
14      (Violations of RCW 49.12.020 and WAC 296‐126‐092 — Failure to Provide Meal Periods)
15          7.1     Plaintiffs reallege and incorporate by reference each and every allegation set
16 forth in the preceding paragraphs.

17          7.2     RCW 49.12.010 provides that “[t]he welfare of the state of Washington demands
18 that all employees be protected from conditions of labor which have a pernicious effect on

19 their health. The state of Washington, therefore, exercising herein its police and sovereign

20 power declares that inadequate wages and unsanitary conditions of labor exert such pernicious

21 effect.”

22          7.3     RCW 49.12.020 provides that “[i]t shall be unlawful to employ any person in any
23 industry or occupation within the state of Washington under conditions of labor detrimental to

24 their health.”

25          7.4     Under RCW 49.12.005 and WAC 296‐126‐002, “conditions of labor” “means and
26 includes the conditions of rest and meal periods” for employees.

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 1          7.5      WAC 296‐126‐092 provides that employees shall be allowed certain meal periods
 2 during their shifts, and the meal periods shall be on the employer’s time when the employee is

 3 required by the employer to remain on duty on the premises or at a prescribed work site in the

 4 interest of the employer.

 5          7.6      Under Washington law, Defendants have an obligation to provide employees
 6 with the meal breaks to which they are entitled.

 7          7.7      Under Washington law, Defendants have an obligation to ensure that employees
 8 take the meal breaks to which they are entitled.

 9          7.8      Under Washington law, Defendants have an obligation to provide employees
10 with thirty minutes of additional pay for each missed meal break.

11          7.9      By the actions alleged above, Defendants have violated the provisions of RCW
12 49.12.020 and WAC 296‐126‐092.

13          7.10     As a result of the unlawful acts of Defendants, Plaintiffs and members of the
14 Class and Subclasses have been deprived of compensation in amounts to be determined at trial,

15 and Plaintiffs and members of the Class and Subclasses are entitled to the recovery of such

16 damages, including interest thereon, attorneys’ fees under RCW 49.48.030, and costs.

17                                    VIII.   THIRD CLAIM FOR RELIEF
18                 (Violations of RCW 49.46.090 — Payment of Wages Less than Entitled)
19          8.1      Plaintiffs reallege and incorporate by reference each and every allegation set
20 forth in the preceding paragraphs.

21          8.2      RCW 49.46.090 provides that “[a]ny employer who pays any employee less than
22 the amounts to which such employee is entitled under or by virtue of [the Washington

23 Minimum Wage Act], shall be liable to such employee affected for the full amount due to such

24 employee under this chapter, less any amount actually paid to such employee by the employer,

25 and for costs and such reasonable attorney's fees as may be allowed by the court.”

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 1          8.3     By the actions alleged above, Defendants have violated the provisions of RCW
 2 49.46.090, including by failing to pay wages to members of the Class and Subclasses for missed

 3 rest and meal breaks and for all hours worked.

 4          8.4     As a result of the unlawful acts of Defendants, Plaintiffs and members of the
 5 Class and Subclasses have been deprived of compensation in amounts to be determined at trial,

 6 and Plaintiffs and members of the Class and Subclasses are entitled to the recovery of such

 7 damages, including interest thereon, as well as attorneys’ fees and costs under RCW 49.46.090.

 8                                 IX.     FOURTH CLAIM FOR RELIEF
 9                   (Violations of RCW 49.46.130 – Failure to Pay Overtime Wages)
10          9.1     Plaintiffs reallege and incorporate by reference each and every allegation set
11 forth in the preceding paragraphs.

12          9.2     RCW 49.46.130 provides that “no employer shall employ any of his or her
13 employees for a workweek longer than forty hours unless such employee receives

14 compensation for his or her employment in excess of the hours above specified at a rate not

15 less than one and one‐half times the regular rate at which he or she is employed.”

16          9.3     By the actions alleged above, Defendants have violated the provisions of RCW
17 49.46.130 by failing to pay proper overtime wages to members of the Class and Subclasses,

18 including but not limited to during workweeks in which missed rest and meal break time

19 extended the workweek beyond forty hours.

20          9.4     By the actions alleged above, Defendants have also violated the provisions of
21 RCW 49.46.130 by failing to pay proper overtime wages to members of the Class and Subclasses

22 during workweeks in which those employees worked over forty hours but were not properly

23 compensated for all hours worked.

24          9.5     As a result of the unlawful acts of Defendants, Plaintiffs and members of the
25 Class and Subclasses have been deprived of compensation in amounts to be determined at trial,

26 and Plaintiffs and members of the Class and Subclasses are entitled to recovery of such

27 damages, including interest thereon, as well as attorneys’ fees and costs under RCW 49.46.090.

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 1                                   X.      FIFTH CLAIM FOR RELIEF
 2                    (Violations of RCW 49.52.050 — Willful Refusal to Pay Wages)
 3          10.1    Plaintiffs reallege and incorporate by reference each and every allegation set
 4 forth in the preceding paragraphs.

 5          10.2    RCW 49.52.050 provides that “[a]ny employer or officer, vice principal or agent
 6 of any employer . . . who . . . [w]ilfully and with intent to deprive the employee of any part of

 7 his or her wages, shall pay any employee a lower wage than the wage such employer is

 8 obligated to pay such employee by any statute, ordinance, or contract” shall be guilty of a

 9 misdemeanor.

10          10.3    Defendants’ violations of RCW 49.12.020, WAC 296‐126‐092, RCW 49.46.090,
11 RCW 49.46.130, and WAC 296‐126‐028 were willful and constitute violations of RCW 49.52.050.

12          10.4    RCW 49.52.070 provides that any employer who violates the provisions of RCW
13 49.52.050 shall be liable in a civil action for twice the amount of wages withheld, attorneys’

14 fees, and costs.

15          10.5    As a result of the willful, unlawful acts of Defendants, Plaintiffs and members of
16 the Class and Subclasses have been deprived of compensation in amounts to be determined at

17 trial and Plaintiffs and members of the Class and Subclasses are entitled to recovery of twice

18 such damages, including interest thereon, as well as attorneys’ fees and costs under RCW

19 49.52.070.

20                                   XI.     SIXTH CLAIM FOR RELIEF
21    (Violations of SMC 14.20.020 and SMC 14.19.035 — Failure to Pay All Compensation Owed)
22          11.1    Plaintiffs reallege and incorporate by reference each and every allegation set
23 forth in the preceding paragraphs.

24          11.2    SMC 14.20.020 provides that “[a]n employer shall pay all compensation owed to
25 an employee by reason of employment on an established regular pay day at no longer than

26 monthly payment intervals.”

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 1          11.3    SMC 14.20.025 provides that each time compensation is paid, an employer shall
 2 give written notice to the employee of all hours worked and all deductions taken by the

 3 employer for that pay period.

 4          11.4    SMC 14.20.030 provides that the employer must also retain payroll records that
 5 document all hours worked by each employee, including straight‐time and overtime hours, and

 6 records of all deductions taken from the employee’s wages each pay period.

 7          11.5    SMC 14.20.045 provides that the failure of an employer to comply with any
 8 requirement imposed upon it under Chapter 14.20 (“Wage Theft Ordinance”) constitutes a

 9 violation of the ordinance.

10          11.6    SMC 14.20.090(A) provides that “any person or class of persons that suffers
11 financial injury as a result of a violation of [the Wage Theft Ordinance] . . . may be awarded

12 reasonable attorney fees and costs and such legal or equitable relief as may be appropriate to

13 remedy the violation including, without limitation, the payment of any unpaid compensation

14 plus interest due to the person and liquidated damages in an additional amount of up to twice

15 the unpaid compensation . . . .”

16          11.7    Under the MWO, employers must pay employees who work in Seattle no less
17 than the applicable minimum for each hour of work. See SMC 14.19.030–040.

18          11.8    The Amazon Defendants and Defendants TEM Express Logistics LLC dba Temex
19 Logistics and TEML, Toritse Orubu, Butchie Boy Productions, Inc. d/b/a Exselon, Jeffrey Butcher,

20 Kathryn Butcher, Asteroids Group LLC dba ASTG, Kingsley Onuchukwu, Anahit Manukyan,

21 Benchmark Transport, LLC, Damien Wagner, Alden Radoncic (aka Alden Radd), GoPlay Logistics

22 LLC, Tracy Pellett, and Nancy Luna are employers under the Seattle Wage Theft Ordinance and

23 Seattle Minimum Wage Ordinance.

24          11.9    By the actions alleged above, the Amazon Defendants and Defendants TEM
25 Express Logistics LLC dba Temex Logistics and TEML, Toritse Orubu, Butchie Boy Productions,

26 Inc. d/b/a Exselon, Jeffrey Butcher, Kathryn Butcher, Asteroids Group LLC dba ASTG, Kingsley

27 Onuchukwu, Anahit Manukyan, Benchmark Transport, LLC, Damien Wagner, Alden Radoncic

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 1 (aka Alden Radd), GoPlay Logistics LLC, Tracy Pellett, and Nancy Luna have violated the

 2 provisions of SMC 14.20.020 and SMC 14.19.030–040.

 3          11.10      As a result of the unlawful acts of the Amazon Defendants and Defendants
 4 TEM Express Logistics LLC dba Temex Logistics and TEML, Toritse Orubu, Butchie Boy

 5 Productions, Inc. d/b/a Exselon, Jeffrey Butcher, Kathryn Butcher, Asteroids Group LLC dba

 6 ASTG, Kingsley Onuchukwu, Anahit Manukyan, Benchmark Transport, LLC, Damien Wagner,

 7 Alden Radoncic (aka Alden Radd), GoPlay Logistics LLC, Tracy Pellett, and Nancy Luna, Plaintiffs

 8 Stelman, Ochoa, Hollerbach, Weatherston, and Wright and members of the Seattle Subclass

 9 and the TEM Express Logistics Seattle Subclass, Exselon Seattle Subclass, Asteroids Group

10 Seattle Subclass, Benchmark Transport Seattle Subclass, and GoPlay Logistics Seattle Subclass

11 (collectively, the “DSP Seattle Subclasses”), have been deprived of compensation in amounts to

12 be determined at trial, and Plaintiffs Stelman, Ochoa, Hollerbach, Weatherston, and Wright and

13 members of the Seattle Subclass and DSP Seattle Subclasses are entitled to the recovery of such

14 damages, including interest thereon, an additional amount of twice the unpaid compensation,

15 and attorneys’ fees and costs under SMC 14.20.090 and SMC 14.19.110.

16                                      XII.    PRAYER FOR RELIEF
17          WHEREFORE, Plaintiffs, on their own and on behalf of the members of the Class and
18 Subclasses, pray for judgment against Defendants as follows:

19          A.      Certify the proposed Class and Subclasses;
20          B.      Appoint Plaintiffs as representatives of the Class;
21          C.      Appoint Plaintiffs Rebecca Stelman, Mark Ochoa, Caitlyn Hollerbach, Louis
22 Weatherston, and Demetries Wright as representatives of the Seattle Subclass;

23          D.      Appoint Plaintiff Rebecca Stelman as representative of the TEM Express Logistics
24 Subclass, TEM Express Logistics Seattle Subclass, Exselon Subclass, and Exselon Seattle Subclass;

25          E.      Appoint Plaintiff Mark Ochoa as representative of the Asteroids Group Subclass,
26 Asteroids Group Seattle Subclass, Benchmark Transport Subclass, and Benchmark Transport

27 Seattle Subclass;

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 1          F.      Appoint Plaintiff Ian Coleman as representative of the Total Package Logistics
 2 Subclass and Aslar Logistics Subclass;

 3          G.      Appoint Plaintiff Caitlyn Hollerbach as representative of the GoPlay Logistics
 4 Subclass and GoPlay Logistics Seattle Subclass;

 5          H.      Appoint Plaintiff Louis Weatherston as representative of the Avanator.com
 6 Subclass and Avanator.com Seattle Subclass;

 7          I.      Appoint Plaintiff Demetries Wright as representative of the Pole Position Express
 8 Logistics Subclass and Pole Position Express Logistics Seattle Subclass;

 9          J.      Appoint Plaintiff Jonas Nyaris as representative of the True Management
10 Subclass;

11          K.      Appoint Plaintiff Janni Samuel as representative of the Aslar Logistics Subclass;
12          L.      Appoint Plaintiff Maira Hernandez as representative of the B.B.W. Holdings
13 Subclass;

14          M.      Appoint Plaintiff Lindsay Moore as representative of the Paragon Deliveries
15 Subclass;

16          N.      Appoint the undersigned attorneys as counsel for the Class and Subclasses;
17          O.      Declare that Defendants’ actions complained of herein violate RCW 49.46.020,
18 RCW 49.46.090, RCW 49.46.130, RCW 49.12.020, WAC 296‐126‐092, RCW 49.52.050, SMC

19 14.19.030–040, and SMC 14.20.020;

20          P.      Award compensatory and exemplary damages to Plaintiffs and members of the
21 Class and Subclasses for violation of Washington’s wage and hour laws, in amounts to be

22 proven at trial;

23          Q.      Award compensatory and exemplary damages to Plaintiffs and members of the
24 Subclasses for violation of the city of Seattle’s wage and hour laws, in amounts to be proven at

25 trial;

26          R.      Award Plaintiffs and the Class and Subclasses attorneys’ fees and costs, as
27 allowed by law;

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 1          S.      Award Plaintiffs and members of the Class and Subclasses prejudgment and
 2 post‐judgment interest, as provided by law;

 3          T.      Permit Plaintiffs and members of the Class and Subclasses leave to amend the
 4 complaint to conform to the evidence presented at trial; and

 5          U.      Grant such other and further relief as the Court deems necessary, just, and
 6 proper.

 7          RESPECTFULLY SUBMITTED AND DATED this 30th day of September, 2022.
 8                                               TERRELL MARSHALL LAW GROUP PLLC
 9                                               By: /s/Toby J. Marshall, WSBA #32726
                                                     Toby J. Marshall, WSBA #32726
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                                                     Email: eric@terrellmarshall.com
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                                                 By: /s/Douglas Han, WSBA #59429
18                                                   Douglas Han, WSBA #59429
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19                                                   Shunt Tatavos‐Gharajeh, WSBA #59424
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21                                                   Pasadena, California 91103
                                                     Telephone: (818) 230‐7502
22
                                                     Facsimile: (818) 230‐7259
23
                                                 Attorneys for Plaintiffs and the Proposed Class
24

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 1                                            FILED
                                       2022 SEP 30 01:00 PM
 2                                         KING COUNTY
                                      SUPERIOR COURT CLERK
 3                                            E-FILED
                                      CASE #: 22-2-15880-8 SEA
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 5

 6                      IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                          COUNTY OF KING
 7
   REBECCA STELMAN, MARK OCHOA, IAN
 8 COLEMAN, CAITLYN HOLLERBACH, LOUIS
                                                   NO.
   WEATHERSTON, DEMETRIES WRIGHT, JONAS
 9 NYARIS, JANNI SAMUEL, MAIRA HERNANDEZ,
                                                   SUMMONS (20 DAY)
10 and LINDSAY MOORE, individually and on
   behalf of all others similarly situated;
11
                           Plaintiffs,
12

13          v.

14 AMAZON.COM INC.; AMAZON LOGISTICS,
   INC.; TEM EXPRESS LOGISTICS LLC dba TEMEX
15
   LOGISTICS and TEML, a Washington limited
16 liability company; TORITSE ORUBU,
   individually and on behalf of the marital
17 community composed of TORITSE ORUBU

18 and J. DOE ORUBU; BUTCHIE BOY
   PRODUCTIONS, INC. d/b/a EXSELON, a
19 Washington corporation; JEFFREY BUTCHER,
   individually and on behalf of the marital
20 community composed of JEFFREY BUTCHER

21 and KATHRYN BUTCHER; KATHRYN BUTCHER,
   individually and on behalf of the marital
22 community composed of KATHRYN BUTCHER
   and JEFFREY BUTCHER; ASTEROIDS GROUP
23
   LLC dba ASTG, a Washington limited liability
24 company; KINGSLEY ONUCHUKWU,
   individually and on behalf of the marital
25 community composed of KINGSLEY
   ONUCHUKWU and J. DOE ONUCHUKWU;
26
   ANAHIT MANUKYAN, individually and on
27 behalf of the marital community composed of

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     ANAHIT MANUKYAN and J. DOE MANUKYAN;
 1
     BENCHMARK TRANSPORT, LLC, a Washington
 2   limited liability company; DAMIEN WAGNER,
     individually and on behalf of the marital
 3   community composed of DAMIEN WAGNER
     and J. DOE WAGNER; ALDEN RADONCIC (aka
 4
     ALDEN RADD), individually and on behalf of
 5   the marital community composed of ALDEN
     RADONCIC and J. DOE RADONCIC; THE TOTAL
 6   PACKAGE LOGISTICS, LLC, a Washington
 7   limited liability company; JEREMY FIXLER,
     individually and on behalf of the marital
 8   community composed of JEREMY FIXLER and
     HEATHER FIXLER; HEATHER FIXLER
 9   individually and on behalf of the marital
10   community composed of HEATHER FIXLER
     and JEREMY FIXLER; NANCY LUNA,
11   individually and on behalf of the marital
     community composed of NANCY LUNA and J.
12
     DOE LUNA; ASLAR LOGISTICS LLC, a
13   Washington limited liability company; LAURA
     JOHNSON, individually and on behalf of the
14   marital community composed of LAURA
     JOHNSON and JOSHUA JOHNSON; JOSHUA
15
     JOHNSON, individually and on behalf of the
16   marital community composed of JOSHUA
     JOHNSON and LAURA JOHNSON; GOPLAY
17   LOGISTICS LLC, a Washington limited liability
18   company; TRACY PELLETT, individually and on
     behalf of the marital community composed of
19   TRACY PELLETT and J. DOE PELLETT;
     AVANATOR.COM LLC, a Washington limited
20   liability company; RICHARD ZECH, individually
21   and on behalf of the marital community
     composed of RICHARD ZECH and J. DOE ZECH;
22   POLE POSITION EXPRESS LOGISTICS LLC, a
     Washington limited liability company; DENNIS
23
     HANNAH, individually and on behalf of the
24   marital community composed of DENNIS
     HANNAH and J. DOE HANNAH; TRUE
25   MANAGEMENT LLC, a Washington limited
     liability company; CHRISTOPHER LILLEY,
26
     individually and on behalf of the marital
27   community composed of CHRISTOPHER

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     LILLEY and J. DOE LILLEY; B.B.W. HOLDINGS,
 1
     INC., a Michigan corporation; BARRY
 2   WILLIAMS, individually and on behalf of the
     marital community composed of BARRY
 3   WILLIAMS and J. DOE WILLIAMS; PARAGON
     DELIVERIES INC., a Washington corporation;
 4
     and JORDAN OFFUTT, individually and on
 5   behalf of the marital community composed of
     JORDAN OFFUTT and J. DOE OFFUTT;
 6
                            Defendants.
 7

 8

 9

10 TO:      AMAZON LOGISTICS, INC.:

11          A lawsuit has been started against you in the above‐entitled court by the Plaintiffs. The

12 Plaintiffs’ claims are stated in the written complaint, a copy of which is served upon you with

13 this summons.

14          In order to defend against this lawsuit, you must respond to the complaint by stating

15 your defense in writing, and by serving a copy upon the person signing this summons within 20

16 days after the service of this summons, excluding the day of service, or a default judgment may

17 be entered against you without notice. A default judgment is one where Plaintiffs are entitled

18 to what has been asked for because you have not responded. If you serve a notice of

19 appearance on the undersigned person, you are entitled to notice before a default judgment

20 may be entered.

21          You may demand that Plaintiffs file this lawsuit with the Court. If you do so, the demand

22 must be in writing and must be served upon Plaintiffs. Within fourteen (14) days after you serve

23 the demand, Plaintiffs must file this lawsuit with the Court, or the service on you of this

24 Summons and Complaint will be void.

25          If you wish to seek the advice of an attorney in this matter, you should do so promptly

26 so that your written response, if any, may be served on time.

27

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 1          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

 2 State of Washington.

 3          RESPECTFULLY SUBMITTED AND DATED this 30th day of September, 2022.

 4                                              TERRELL MARSHALL LAW GROUP PLLC

 5                                              By: /s/Toby J. Marshall, WSBA #32726
                                                    Toby J. Marshall, WSBA #32726
 6
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 7                                                  Erika L. Nusser, WSBA #40854
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14                                                  Douglas Han, WSBA #59429
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                                                Attorneys for Plaintiffs and the Proposed Class
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 1                                            FILED
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 2                                         KING COUNTY
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                                      CASE #: 22-2-15880-8 SEA
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   REBECCA STELMAN, MARK OCHOA, IAN
 8 COLEMAN, CAITLYN HOLLERBACH, LOUIS
                                                   NO.
   WEATHERSTON, DEMETRIES WRIGHT, JONAS
 9 NYARIS, JANNI SAMUEL, MAIRA HERNANDEZ,
                                                   SUMMONS (20 DAY)
10 and LINDSAY MOORE, individually and on
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                           Plaintiffs,
12

13          v.

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     ANAHIT MANUKYAN and J. DOE MANUKYAN;
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     LILLEY and J. DOE LILLEY; B.B.W. HOLDINGS,
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     and JORDAN OFFUTT, individually and on
 5   behalf of the marital community composed of
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 6
                            Defendants.
 7

 8

 9

10 TO:      AMAZON.COM INC.:

11          A lawsuit has been started against you in the above‐entitled court by the Plaintiffs. The

12 Plaintiffs’ claims are stated in the written complaint, a copy of which is served upon you with

13 this summons.

14          In order to defend against this lawsuit, you must respond to the complaint by stating

15 your defense in writing, and by serving a copy upon the person signing this summons within 20

16 days after the service of this summons, excluding the day of service, or a default judgment may

17 be entered against you without notice. A default judgment is one where Plaintiffs are entitled

18 to what has been asked for because you have not responded. If you serve a notice of

19 appearance on the undersigned person, you are entitled to notice before a default judgment

20 may be entered.

21          You may demand that Plaintiffs file this lawsuit with the Court. If you do so, the demand

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23 the demand, Plaintiffs must file this lawsuit with the Court, or the service on you of this

24 Summons and Complaint will be void.

25          If you wish to seek the advice of an attorney in this matter, you should do so promptly

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 1          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

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 3          RESPECTFULLY SUBMITTED AND DATED this 30th day of September, 2022.

 4                                              TERRELL MARSHALL LAW GROUP PLLC

 5                                              By: /s/Toby J. Marshall, WSBA #32726
                                                    Toby J. Marshall, WSBA #32726
 6
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 7                                                  Erika L. Nusser, WSBA #40854
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 8                                                  Eric R. Nusser, WSBA #51513
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11                                                  Facsimile: (206) 319‐5450
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                                                    Facsimile: (818) 230‐7259
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                                                Attorneys for Plaintiffs and the Proposed Class
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     SUMMONS (20 DAY) ‐ 4                                                        www.terrellmarshall.com
